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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

CARLTON SMITH,
      Plaintiff,
-vs.-

NATIONWIDE COLLECTION AGENCIES, INC.
d/b/a/ MONEY RECOVERY NATIONWIDE,
a Michigan corporation,
       Defendant.
__________________________/


                     COMPLAINT AND JURY DEMAND

      NOW COMES THE PLAINTIFF, CARLTON SMITH, THROUGH

COUNSEL, CREDIT REPAIR LAWYERS OF AMERICA, BY GARY D.

NITZKIN, and for his Complaint against the Defendants, plead as follows:


                                 JURISDICTION


   1. This is an action for damages, brought against a debt collector for violating

      the Fair Debt Collection Practices Act at 15 U.S.C. § 1692 et seq.

      ("FDCPA"), Michigan Collection Practices Act at M.C.L. § 445.251 et seq.

      ("MCPA") and the Michigan Occupational Code at M.C.L. § 339.901 et seq.

      ("MOC").




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                                   VENUE


2. The transactions and occurrences which give rise to this action occurred in

   Oakland County, Michigan.

3. Venue is proper in the Eastern District of Michigan.


                                  PARTIES
4. Plaintiff is a natural person residing in the City of Ferndale, in Oakland

   County, Michigan.

5. The Defendant to this lawsuit is Nationwide Collection Agencies, Inc. d/b/a

   Money Recovery Nationwide which maintains a registered agent in Ingham

   County, Michigan.

                          GENERAL ALLEGATIONS


6. Defendant is attempting to collect the following consumer type debts

   allegedly owed by Plaintiff to South Oakland Anesthesia (alleged “Debts”):

      a. Account number 4267434 in the amount of $464;

      b. Account number 4267435 in the amount $160; and

      c. Account number 4267437 in the amount of $32.

7. On or about December 30, 2016, Mr. Smith obtained his credit files and

   noticed that Defendant reported the alleged Debts.


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8. On or about April 21, 2017, Mr. Smith submitted a letter to Defendant

   disputing the alleged Debts.

9. On or about June 19, 2017, Mr. Smith obtained his CBC Innovis credit file

   which showed that Defendant failed to flag the alleged Debts as disputed.

10.On or about July 17, 2017, Mr. Smith obtained his Equifax, Trans Union and

   Experian credit files and noticed that Defendant failed to flag the alleged

   Debts as disputed.


   COUNT I – VIOLATION OF THE FAIR DEBT COLLECTION
                    PRACTICES ACT
11.Plaintiff reincorporates the preceding allegations by reference.

12.At all relevant times Defendant, in the ordinary course of its business,

   regularly engaged in the practice of collecting debts on behalf of other

   individuals or entities.

13.Mr. Smith is a "consumer" for purposes of the FDCPA and the account at

   issue in this case is a consumer debt.

14.Defendant is a "debt collector" under the Fair Debt Collection Practices Act

   ("FDCPA"), 15 U.S.C. §1692a(6).

15.Defendant's foregoing acts in attempting to collect this alleged debt violated

   the following provisions of the FDCPA:


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         a. 15 U.S.C. §1692e(8) by failing to communicate that a disputed debt is

             disputed. Defendant did this when it continued to report the alleged

             Debts on Mr. Smith’s credit files without indicating that he disputed

             the alleged Debt.

   16.Mr. Smith has suffered economic, emotional, general and statutory damages

      as a result of these violations of the FDCPA.



   WHEREFORE, PLAINTIFF PRAYS THAT THIS COURT grant him

damages plus costs, interest and attorneys' fees as provided by the Fair Debt

Collection Practices Act.


 COUNT II - VIOLATION OF THE MICHIGAN OCCUPATIONAL CODE
   17.Plaintiff incorporates the preceding allegations by reference.

   18. Defendant is a "collection agency" as that term is defined in the Michigan

      Occupational Code ("MOC"), M.C.L. § 339.901(b).

   19.Mr. Smith is a debtor as that term is defined in M.C.L. § 339.901(f).

   20.Defendant’s foregoing acts in attempting to collect this alleged debt violated

      the following provisions of the MOC:

         a. MCL §339.915(q) by failing to implement a procedure designed to

             prevent a violation by an employee.

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   21.Mr. Smith has suffered damages as a result of these violations of the

      Michigan Occupational Code.

   22.These violations of the Michigan Occupational Code were willful.



   WHEREFORE, PLAINTIFF PRAYS THAT THIS COURT grant him

damages plus costs, interest and attorneys' fees as provided by the Michigan

Occupational Code.


      COUNT III - VIOLATION OF THE MICHIGAN COLLECTION
                         PRACTICES ACT
   23.Plaintiff incorporates the preceding allegations by reference.

   24. Defendant is a "Regulated Person" as that term is defined in the Michigan

      Collection Practices Act ("MCPA"), at MCL § 445.251.

   25.Mr. Smith is a "consumer" as that term is defined at MCL § 445.251.

   26.Defendant’s foregoing acts in attempting to collect this debt violated the

      following provisions of the MCPA:

         a. MCL §445.252(q) by failing to implement a procedure designed to

            prevent a violation by an employee.

   27.Mr. Smith has suffered damages as a result of these violations of the MCPA.

   28.These violations of the MCPA were willful.


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     WHEREFORE, PLAINTIFF PRAYS THAT THIS COURT grant him

damages plus costs, interest and attorneys' fees as provided by the Michigan

Collection Practices Act.



                                JURY DEMAND

     Plaintiff hereby demands a trial by Jury.

                             Respectfully submitted.


August 2, 2017              /s/ Gary Nitzkin
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